






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00337-CR






John Lopez, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT

NO. D-1-DC-06-500341, HONORABLE FRED A. MOORE, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



		A jury found appellant John Lopez guilty of burglary of a habitation.  See Tex. Penal
Code Ann. § 30.02 (West 2003).  The jury assessed and the trial court sentenced appellant to forty
years' confinement.

		Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738,
87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S.
75, 109 S. Ct. 346, 102 L. Ed. 2d 300 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App.
1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553
(Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant
received a copy of counsel's brief and was advised of his right to examine the appellate record and
to file a pro se brief.  No pro se brief has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

		The judgment of conviction is affirmed.



						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   February 13, 2008

Do Not Publish


